                                                                             Case 4:22-cv-01812-JSW Document 30 Filed 07/11/22 Page 1 of 3




                                                                       1                  JML LAW
                                                                                    A PROFESSIONAL LAW CORPORATION
                                                                       2         5855 TOPANGA CANYON BLVD., SUITE 300
                                                                                   WOODLAND HILLS, CALIFORNIA 91367

                                                                       3                  Tel: (818) 610-8800
                                                                                          Fax: (818) 610-3030

                                                                       4   NICHOLAS W. SARRIS, STATE BAR NO. 242011
                                                                           TASHA T. SALVERON, STATE BAR NO. 336596
                                                                       5
                                                                           Attorneys for Plaintiff
                                                                       6   Daniel Ortolivo

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                                                                       8
                                                                                                                UNITED STATES DISTRICT COURT
                                                                       9
                                                                                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                      10
                                                                      11   DANIEL ORTOLIVO, an individual,        )            Case No. 3:22-cv-01812
                                                                      12             Plaintiff,                   )            (Removed from Alameda County Superior
                               5855 Topanga Canyon Blvd., Suite 300




                                                                                                                  )            Court, Case No. 22CV006656)
                                                                                   vs.                            )
                                    Woodland Hills, CA 91367




                                                                      13                                          )
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                                                                           PRECISION DYNAMICS                     )            DECLARATION OF TASHA T.
                                                                      14   INTERNATIONAL, LLC, an Arizona         )            SALVERON ORDER TO SHOW CAUSE
                                                                           limited liability company; KEVIN LONG, )            FOR FAILURE TO PROSECUTE
                                                                      15                                          )
                                                                           an individual; and DOES 1 through 25,
                                                                           inclusive,                             )            Response Due By: July 12, 2022
                                                                      16                                          )            Complaint Filed: February 9, 2022
                                                                                            Defendants.
                                                                                                                  )
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                                                                                 DECLARATION OF TASHA T. SALVERON RE ORDER TO SHOW CAUSE FOR
                                                                                                    FAILURE TO PROSECUTE
                                                                             Case 4:22-cv-01812-JSW Document 30 Filed 07/11/22 Page 2 of 3




                                                                       1   I, Tasha T. Salveron, the undersigned, declare as follows:
                                                                       2          1.        I am an attorney duly licensed to practice before all courts of the State of
                                                                       3
                                                                           California, and am an associate with JML Law APLC, the attorneys of record for Plaintiff,
                                                                       4
                                                                           Daniel Ortolivo, herein. If called as a witness, I could and would testify competently to the
                                                                       5
                                                                       6   matters set forth herein as they are based upon my personal knowledge and belief.

                                                                       7
                                                                                  2.        On June 28, 2022, this court ordered Plaintiff to show cause why the claims
                                                                       8
                                                                           against Defendant Kevin Long should not be dismissed for failure to prosecute and to file a
                                                                       9
                                                                      10   response by July 12, 2022.

                                                                      11
                                                                                  3.        Plaintiff failed to serve Defendant Kevin Long because Plaintiff reasonably
                                                                      12
                               5855 Topanga Canyon Blvd., Suite 300




                                                                           believed that the defense counsel, Haynes and Boone LLP, represented both Defendants —
                                                                      13
                                    Woodland Hills, CA 91367




                                                                           Precision Dynamics International, LLC and Kevin Long. Kevin Long is the President and Chief
      A Professional Law Corporation




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                                                                      15   Operating Officer of Precision Dynamics, LLP and defense counsel’s Initial Disclosures indicate
                                                                      16   that he may be contacted through defense counsel.
                                                                      17
                                                                      18          4.        I sincerely apologize to the Court for the failure to prosecute Kevin Long and for

                                                                      19   any inconvenience it may have caused.
                                                                      20
                                                                                  5.        After receiving notice of this court’s order to show cause on June 28, 2022,
                                                                      21
                                                                      22   Plaintiff immediately remedied the situation by filing a proposed summons on the same day.

                                                                      23   The court issued the summons to Defendant Kevin Long the next day on June 29, 2022. Plaintiff
                                                                      24   then personally served Defendant Kevin Long on July 6, 2022 and filed the Proof of Service on
                                                                      25
                                                                           July 11, 2022.
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                                                                              DECLARATION OF TASHA T. SALVERON RE ORDER TO SHOW CAUSE FOR
                                                                                                 FAILURE TO PROSECUTE
                                                                             Case 4:22-cv-01812-JSW Document 30 Filed 07/11/22 Page 3 of 3




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                                                                                   I declare under the penalty of perjury under the laws of the State of California that the
                                                                       6
                                                                       7   foregoing is true and correct and that this declaration was executed this 11th day of July, 2022 in

                                                                       8   Woodland Hills, California.
                                                                       9
                                                                      10
                                                                      11                         ___________________________________________
                                                                      12
                                                                      13                                            Tasha T. Salveron

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                                    Woodland Hills, CA 91367
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                                                                                 DECLARATION OF TASHA T. SALVERON RE ORDER TO SHOW CAUSE FOR
                                                                                                    FAILURE TO PROSECUTE
